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                           EXHIBIT 2
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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   BOARD OF TRUSTEES,                                     )
   SHEET METAL WORKERS’                                   )
   LOCAL 9 PENSION TRUST, et al.                          )
                                                          )
                   Plaintiffs,                            )
                                                          )       Case No. 1:23-cv-03458-NYW-SBP
   v.                                                     )
                                                          )
   AMERICAN VETERAN HEATING & AIR,                        )
                                                          )
                   Defendant.                             )

                 DECLARATION OF RICHARD S. SIEGEL, ESQ. IN SUPPORT OF
                     PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT

            I, Richard S. Siegel, Esq., pursuant to 28 U.S.C. § 1746, declare:

            1.     I am the attorney of record for the Plaintiffs in this action. I am over the age of 18,

   and I am competent to testify on the matters stated herein. The facts stated below are based on my

   personal knowledge.

            2.     I make this declaration in support of the Motion for Default Judgment being filed

   by the Plaintiffs to this action.

            3.     I am an Associate with the firm of Slevin & Hart, P.C. (the “Firm”) in my 17th year

   of practice. The Firm is engaged primarily in the practice of employee benefits law and related

   areas of law.

            4.     The Firm is counsel to the Plaintiffs to this action. The Firm was asked by the

   Plaintiffs to collect delinquent contributions and other payments owed to the Plaintiffs pursuant to

   Sections 502 and 515 of the Employee Retirement Income Security Act of 1974, as amended, and

   Section 301 of the Labor Management Relations Act.




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            5.    The following attorneys and professionals of the Firm have worked on pursuing

   collection of the delinquent amounts owed to the Plaintiffs that are the subject of this matter:

   Richard S. Siegel, Esq.; Jeffrey S. Swyers, Esq., a Principal of the Firm with 29 years of

   experience; Andrew R. Dietrich, Esq., a Principal of the Firm with 17 years of experience; and

   Shreya M. Iyer, a Paralegal of the Firm.

            6.    Plaintiffs’ attorneys’ fees in this matter through May 28, 2024, are $18,681.50

   based upon: 36.5 hours of counsel time spent by Mr. Siegel at an hourly rate of $325; 10.9 hours

   of counsel time spent by Mr. Swyers at an hourly rate of $360; 7.4 hours of counsel time spent by

   Mr. Dietrich at an hourly rate of $360; and 1.1 hours of paralegal time spent at an hourly rate of

   $210. Time spent by counsel and the paralegals includes but is not limited to: drafting the

   complaint, arranging for service of process, negotiating a potential settlement with both Defendant

   and another company that was considering purchasing Defendant’s assets, drafting a motion to

   strike Defendant’s pro se answer before the Court did so sua sponte, drafting the entry of default,

   and drafting the motion for default judgment and supporting documents.

            7.    Plaintiffs’ costs in this matter through May 28, 2024, are $581.28 including:

   $405.00 in court filing fees, $156.94 in legal research, $19.14 in postage, and $0.20 in PACER

   charges.

            8.    In total, Plaintiffs have incurred a total of $19,262.78 in attorneys’ fees and costs

   in connection with this case through May 28, 2024.

            9.    The Firm bills Plaintiffs for fees and costs incurred in this case by dividing those

   fees and costs between the Colorado Sheet Metal Workers’ Local 9 Health Fund (the “Health

   Fund”) and the Sheet Metal Workers’ Local 9 Pension Trust (the “Pension Fund”), and separately

   invoicing the Health Fund and Pension Fund. Attached hereto as Exhibits A and B are true and


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   accurate copies of summaries of the fees and costs incurred in this case by, respectively, the Health

   Fund and Pension Fund, which describe: (a) the legal services rendered in connection with this

   matter, the date on which those services were performed, the attorney and/or paralegal who

   performed the services, and the time spent in performing said services; and (b) the costs incurred

   in this matter. The total amount of fees and costs incurred by Plaintiffs is reflected in Exhibits A

   and B combined.

            I declare under penalties of perjury that the foregoing is true and correct to the best of my

   knowledge, information, and belief.


   Dated: May 29, 2024                            /s/ Richard S. Siegel
                                                  Richard S. Siegel
                                                  SLEVIN & HART, P.C.
                                                  1625 Massachusetts Avenue, NW, Suite 450
                                                  Washington, DC 20036
                                                  Telephone: (202) 797-8700
                                                  Facsimile: (202) 234-8234
                                                  rsiegel@slevinhart.com
                                                  Attorney for Plaintiffs




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                           EXHIBIT A
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Slevin & Hart, P.C.
Fees and Costs Report
Colorado Sheet Metal Workers' Local 9 / American Veteran Heating & Air (0710-000025)
For the Period Decembr 27, 2023 through May 28, 2024

                                                  FEES
    Date   Attorney/Paralegal      Narrative                                                  Hours    Fees
12/27/2023 Swyers, Jeffrey S.      Review and conference regarding collection issues           0.30   108.00

12/28/2023 Swyers, Jeffrey S.      Review documents and emails for preparation of              2.50   900.00
                                   lawsuit, conferneces regarding strategy and
                                   recommendation for same, send and receive emails
                                   regarding same, review draft complaint, review draft
                                   email recommendation
12/28/2023 Siegel, Richard S.      Send and review emails regarding American Veteran           0.30    97.50
                                   and review and evaluate attachments to same

12/28/2023 Siegel, Richard S.      Draft American Veteran complaint and research and           1.40   455.00
                                   review documents for purpose of same
12/28/2023 Siegel, Richard S.      Telephone conferences regarding American Veteran            0.70   227.50

12/29/2023 Swyers, Jeffrey S.      Review draft complaint, conferences regarding same,         1.20   432.00
                                   send and receives emails regarding the same and
                                   authorization
12/29/2023 Siegel, Richard S.      Draft and revise American Veteran complaint and             0.70   227.50
                                   related filings and research and review rules and filing
                                   procedures regarding same
12/29/2023 Siegel, Richard S.      Draft, send, and review emails regarding American           0.30    97.50
                                   Veteran complaint and revocation of settlement offer
                                   and review documents and correspondence for
                                   purpose of same
12/29/2023 Siegel, Richard S.      Telephone conferences regarding American Veteran            0.60   195.00
                                   complaint and revocation of settlement offer

12/30/2023 Swyers, Jeffrey S.      Review and send email regarding the filing of lawsuit,      0.60   216.00
                                   conferences regarding same, review response from
                                   Employer
12/30/2023 Siegel, Richard S.      Review, revise, finalize and file American Veteran          0.20    65.00
                                   complaint
12/30/2023 Siegel, Richard S.      Send, review, and revise emails regarding American          0.20    65.00
                                   Veteran complaint and reaction to same and potential
                                   settlement
01/01/2024 Siegel, Richard S.      Review email regarding settlement agreement                 0.10    32.50
01/02/2024 Dietrich, Andrew R.     Conferences and teleconferences regarding AVHA              1.00   360.00
                                   delinquency, complaint, and payroll audit, draft emails
                                   regarding same
01/02/2024 Swyers, Jeffrey S.      Send and receive emails regarding filing and audit          0.10    36.00
01/02/2024 Siegel, Richard S.      Research and review rules of assigned judges                0.20    65.00
01/02/2024 Siegel, Richard S.      Conferences regarding case status and strategy and          0.30    97.50
                                   potential settlement

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Fees and Costs Report
Colorado Sheet Metal Workers' Local 9 / American Veteran Heating & Air (0710-000025)
For the Period Decembr 27, 2023 through May 28, 2024

                                                     FEES
    Date   Attorney/Paralegal      Narrative                                                 Hours    Fees
01/02/2024 Siegel, Richard S.      Send and review emails regarding case filing and           0.10    32.50
                                   opening
01/02/2024 Iyer, Shreya M.         Review and upload complaint, civil cover sheet, and        0.10    21.00
                                   magistrate consent form
01/03/2024 Siegel, Richard S.      Send and review emails regarding case administration       0.10    32.50
                                   and letters to departments
01/04/2024 Siegel, Richard S.      Review and revise letters to Secretaries of Labor and      0.10    32.50
                                   Treasury transmitting complaint
01/04/2024 Iyer, Shreya M.         Prepare transmittal letters to Secretaries of Labor and    0.40    84.00
                                   Treasury
01/05/2024 Dietrich, Andrew R.     Teleconference with AVHA regarding litigation and          0.60   216.00
                                   potential settlement, draft emails regarding same,
                                   teleconference with payroll auditor regarding same
01/05/2024 Siegel, Richard S.      Telephone conferences regarding settlement and             0.30    97.50
                                   waiver of service, prepare for same
01/05/2024 Siegel, Richard S.      Send and review emails regarding waiver of service         0.30    97.50
                                   and audit, prepare waiver forms for purpose of same

01/09/2024 Dietrich, Andrew R.     Conference regarding service and requested waiver          0.10    36.00
                                   of service
01/09/2024 Siegel, Richard S.      Conference regarding service and case strategy             0.10    32.50
01/12/2024 Dietrich, Andrew R.     Conference regarding email to Air Right regarding          0.10    36.00
                                   waiver of service and documents needed for payroll
                                   audit
01/12/2024 Siegel, Richard S.      Draft, send, and review emails regarding waiver of         0.20    65.00
                                   service and audit, review prior correspondence for
                                   purpose of same
01/12/2024 Siegel, Richard S.      Telephone conference regarding waiver of service           0.10    32.50
                                   and audit
01/16/2024 Siegel, Richard S.      Finalize and file waiver of service                        0.10    32.50
01/26/2024 Siegel, Richard S.      Draft and review emails regarding returned payment         0.10    32.50

02/21/2024 Siegel, Richard S.      Draft and review emails regarding case status and          0.10    32.50
                                   review documents and prior correspondence for
                                   purpose of same
02/22/2024 Siegel, Richard S.      Review voicemail regarding settlement                      0.10    32.50
02/23/2024 Dietrich, Andrew R.     Review payroll audit report, draft emails and              0.70   252.00
                                   teleconference with auditor regarding same;
                                   conference regarding communication from potential
                                   purchaser of American Veteran assets and liabilities

02/23/2024 Siegel, Richard S.      Telephone conferences regarding damages, audit,            0.20    65.00
                                   and potential settlement
02/23/2024 Siegel, Richard S.      Review email and attachment regarding audit                0.10    32.50
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Slevin & Hart, P.C.
Fees and Costs Report
Colorado Sheet Metal Workers' Local 9 / American Veteran Heating & Air (0710-000025)
For the Period Decembr 27, 2023 through May 28, 2024

                                                   FEES
    Date     Attorney/Paralegal    Narrative                                               Hours    Fees
02/28/2024   Siegel, Richard S.    Review email regarding delinquency status                0.10    32.50
02/29/2024   Dietrich, Andrew R.   Conference regarding proposed settlement                 0.20    72.00
02/29/2024   Siegel, Richard S.    Conference regarding default and potential settlement    0.10    32.50

03/01/2024 Siegel, Richard S.      Draft and review emails regarding damages                0.10    32.50
03/04/2024 Siegel, Richard S.      Send and review emails regarding settlement and          0.40   130.00
                                   damages and calculate damages for purposes of
                                   same and review related documents and
                                   correspondence for purpose of same
03/05/2024 Siegel, Richard S.      Draft and review emails regarding settlement and         0.20    65.00
                                   request for extension and review related documents
                                   and correspondence for purpose of same

03/05/2024 Siegel, Richard S.      Conference regarding fees for settlement                 0.10    32.50
03/06/2024 Dietrich, Andrew R.     Teleconference regarding proposed settlement of          0.20    72.00
                                   delinquent contributions, review draft email to Smith
                                   Plumbing and Heating regarding same, conference
                                   regarding same
03/06/2024 Siegel, Richard S.      Telephone conferences regarding settlement               0.20    65.00
03/06/2024 Siegel, Richard S.      Draft, revise, and review emails regarding settlement    0.20    65.00
                                   and motion for extension and review attachment to
                                   same
03/06/2024 Iyer, Shreya M.         Review and update defendant's request for an             0.10    21.00
                                   extension to answer
03/15/2024 Siegel, Richard S.      Draft and review emails regarding scheduling order       0.10    32.50

03/18/2024 Siegel, Richard S.      Review scheduling order and related rules and forms      0.20    65.00
                                   and send and review emails regarding deadlines
                                   resulting from same
03/19/2024 Dietrich, Andrew R.     Review email from Fund Office regarding payroll audit    0.10    36.00
                                   delinquency, draft email regarding same, conference
                                   regarding same
03/19/2024 Siegel, Richard S.      Conference regarding case and audit status               0.10    32.50
03/19/2024 Siegel, Richard S.      Draft and review emails regarding audit status and       0.20    65.00
                                   review attachments to same and related documents
                                   and correspondence for purpose of same

03/20/2024 Siegel, Richard S.      Draft and review emails regarding case status and        0.20    65.00
                                   settlement and review related documents and
                                   correspondence for purpose of same
03/21/2024 Siegel, Richard S.      Conference regarding delinquency status and              0.10    32.50
                                   settlement
03/22/2024 Dietrich, Andrew R.     Conference regarding proposed settlement, review         0.10    36.00
                                   draft email regarding same
                                                   Page 3 of 7
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Slevin & Hart, P.C.
Fees and Costs Report
Colorado Sheet Metal Workers' Local 9 / American Veteran Heating & Air (0710-000025)
For the Period Decembr 27, 2023 through May 28, 2024

                                                    FEES
    Date   Attorney/Paralegal      Narrative                                                Hours    Fees
03/22/2024 Siegel, Richard S.      Telephone conferences regarding email to defendant        0.20    65.00
                                   and collective bargaining agreement issues

03/22/2024 Siegel, Richard S.      Draft, review, and revise emails regarding answer         0.10    32.50
                                   deadline, settlement, and collective bargaining
                                   agreement
03/22/2024 Siegel, Richard S.      Review and evaluate documents, pleadings and              0.20    65.00
                                   correspondence regarding collective bargaining
                                   agreement issues
04/03/2024 Swyers, Jeffrey S.      Conference regarding answer and possible motion to        0.20    72.00
                                   strike
04/03/2024 Siegel, Richard S.      Review and evaluate answer                                0.10    32.50
04/03/2024 Siegel, Richard S.      Conference regarding answer                               0.10    32.50
04/04/2024 Dietrich, Andrew R.     Conference regarding proposed motion to strike            0.10    36.00
                                   answer, review draft email to employer regarding
                                   same
04/04/2024 Swyers, Jeffrey S.      Conference regarding possible motion to strike            0.10    36.00
                                   answer
04/04/2024 Siegel, Richard S.      Evaluate potential motion to strike answer and            0.70   227.50
                                   research and review rules for purpose of same
04/04/2024 Siegel, Richard S.      Conferences regarding motion to strike answer             0.10    32.50
04/04/2024 Siegel, Richard S.      Draft and review emails regarding motion to strike        0.10    32.50
                                   answer
04/05/2024 Swyers, Jeffrey S.      Review and send emails regarding answer to                0.10    36.00
                                   complaint
04/05/2024 Siegel, Richard S.      Draft motion to strike and review documents and           0.80   260.00
                                   correspondence for purpose of same
04/05/2024 Siegel, Richard S.      Draft and review emails regarding motion to strike and    0.10    32.50
                                   order striking answer
04/19/2024 Siegel, Richard S.      Draft and review emails regarding audit and review        0.10    32.50
                                   documents, pleadings, and correspondence for
                                   purpose of same
04/19/2024 Siegel, Richard S.      Telephone conference regarding audit                      0.10    32.50
04/21/2024 Siegel, Richard S.      Review email regarding audit                              0.10    32.50
04/23/2024 Siegel, Richard S.      Review case docket and correspondence regarding           0.10    32.50
                                   case status and deadlines
04/24/2024 Swyers, Jeffrey S.      Conference regarding answer and timing of default         0.10    36.00

04/24/2024 Siegel, Richard S.      Conference regarding answer deadline, case                0.10    32.50
                                   deadlines, and potential default
04/26/2024 Siegel, Richard S.      Telephone conference regarding case status and            0.10    32.50
                                   employer subsidy



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Fees and Costs Report
Colorado Sheet Metal Workers' Local 9 / American Veteran Heating & Air (0710-000025)
For the Period Decembr 27, 2023 through May 28, 2024

                                                     FEES
    Date   Attorney/Paralegal      Narrative                                                   Hours    Fees
05/01/2024 Siegel, Richard S.      Draft, revise, and file requests for entry of default and    0.70   227.50
                                   motion to adjourn deadlines and related pleadings
                                   and review documents, pleadings, and rules for
                                   purpose of same
05/01/2024 Siegel, Richard S.      Draft and review emails regarding request for entry of       0.10    32.50
                                   default and motion to adjourn deadlines
05/02/2024 Siegel, Richard S.      Draft and review emails regarding default and default        0.10    32.50
                                   judgment
05/03/2024 Siegel, Richard S.      Review emails regarding order on motion to adjourn           0.10    32.50
                                   deadlines and audit
05/07/2024 Swyers, Jeffrey S.      Conference regarding estimates for contributions for         0.10    36.00
                                   judgment
05/07/2024 Siegel, Richard S.      Conferences regarding motion for default judgment            0.30    97.50

05/07/2024 Siegel, Richard S.      Draft motion for default judgment and review                 0.60   195.00
                                   documents, pleadings, and correspondence for
                                   purpose of same
05/08/2024 Dietrich, Andrew R.     Conference regarding status and next steps for               0.20    72.00
                                   lawsuit
05/08/2024 Siegel, Richard S.      Draft motion for default judgment and supporting             0.90   292.50
                                   declaration and review documents, pleadings, and
                                   correspondence for purpose of same
05/08/2024 Siegel, Richard S.      Telephone conferences regarding motion for default           0.30    97.50
                                   judgment
05/08/2024 Siegel, Richard S.      Draft and review emails regarding motion for default         0.10    32.50
                                   judgment
05/09/2024 Siegel, Richard S.      Draft motion for default judgment and supporting             0.70   227.50
                                   declaration and review documents, pleadings, and
                                   correspondence for purpose of same
05/09/2024 Siegel, Richard S.      Draft and review emails regarding motion for default         0.20    65.00
                                   judgment and audit issues and damage calculations
                                   and review and evaluate attachments to same

05/09/2024 Siegel, Richard S.      Telephone conference regarding motion for default            0.10    32.50
                                   judgment
05/10/2024 Siegel, Richard S.      Draft and review emails regarding call with auditor          0.10    32.50
05/13/2024 Dietrich, Andrew R.     Conference internally regarding determination of             0.10    36.00
                                   delinquent contributions owed under payroll audit
05/13/2024 Siegel, Richard S.      Telephone conferences regarding case status and              0.20    65.00
                                   audit and prepare for same
05/14/2024 Siegel, Richard S.      Draft and review emails regarding audit                      0.10    32.50
05/16/2024 Siegel, Richard S.      Conference regarding audit and default judgment              0.10    32.50
05/17/2024 Siegel, Richard S.      Telephone conference regarding audit and default             0.10    32.50
                                   judgment
                                                    Page 5 of 7
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Fees and Costs Report
Colorado Sheet Metal Workers' Local 9 / American Veteran Heating & Air (0710-000025)
For the Period Decembr 27, 2023 through May 28, 2024

                                                    FEES
    Date   Attorney/Paralegal      Narrative                                              Hours       Fees
05/17/2024 Siegel, Richard S.      Draft and revise pleadings for motion for default       0.40      130.00
                                   judgment and compile exhibits to same
05/21/2024 Siegel, Richard S.      Review email regarding motion for default judgment      0.10       32.50

05/22/2024 Siegel, Richard S.      Revise motion for default judgment and related          0.40      130.00
                                   pleadings and research and review documents for
                                   purpose of same and review and evaluate comments
                                   and revisions to same
05/21/2024 Swyers, Jeffrey S.      Review motion for default judgment and supporting       0.30      108.00
                                   affidavit, send email regarding revisions to same

05/22/2024 Siegel, Richard S.      Draft and review emails regarding motion for default    0.10       32.50
                                   judgment
05/23/2024 Siegel, Richard S.      Review email regarding agreement status for motion      0.10       32.50
                                   for default judgment
05/24/2024 Siegel, Richard S.      Review and revise declaration for motion for default    0.10       32.50
                                   judgment and review related documents and
                                   correspondence for purpose of same
05/28/2024 Siegel, Richard S.      Review and revise motion for default judgment and       0.20       65.00
                                   declaration in support of same
05/28/2024 Siegel, Richard S.      Draft and review emails regarding motion for default    0.10       32.50
                                   judgment
                                   Total Fees                                             28.40   $9,479.50

FEES RECAP
         Attorney/Paralegal                                                       Hours    Rate        Fees
ARD      Dietrich, Andrew R.                                                       3.50     360   $1,260.00
JSS      Swyers, Jeffrey S.                                                        5.60     360   $2,016.00
RSS      Siegel, Richard S.                                                       18.70     325   $6,077.50
SMI      Iyer, Shreya M.                                                           0.60     210     $126.00
         Total                                                                    28.40           $9,479.50




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Fees and Costs Report
Colorado Sheet Metal Workers' Local 9 / American Veteran Heating & Air (0710-000025)
For the Period Decembr 27, 2023 through May 28, 2024

                                                     COSTS
Date         Description                                                                   Costs
01/04/2024   Postage                                                                      $18.02
01/15/2024   Colorado District Court:12/30/23 complaint filing fee                       $202.50
04/30/2024   Pacer Service Center - January-March 2024 Billing Statement                   $0.10
04/30/2024   Legal research, Lexis-Nexis: April 2024                                      $78.47
05/01/2024   Postage                                                                       $1.12
             Total Costs                                                                $300.21


                                         FEES AND COSTS RECAP
             Total Fees                                                                $9,479.50
             Total Costs                                                                 $300.21
             Total Fees and Costs                                                      $9,779.71




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                          EXHIBIT B
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Slevin & Hart, P.C.
Fees and Costs Report
Sheet Metal Workers' Local 9 Pension / American Veteran Heating & Air (0711-000025)
For the Period Decembr 27, 2023 through May 28, 2024

                                                  FEES
    Date   Attorney/Paralegal      Narrative                                                  Hours    Fees
12/27/2023 Swyers, Jeffrey S.      Review and conference regarding collection issues           0.30   108.00

12/28/2023 Swyers, Jeffrey S.      Review documents and emails for preparation of              2.60   936.00
                                   lawsuit, conferneces regarding strategy and
                                   recommendation for same, send and receive emails
                                   regarding same, review draft complaint, review draft
                                   email recommendation
12/28/2023 Siegel, Richard S.      Telephone conferences regarding American Veteran            0.60   195.00

12/28/2023 Siegel, Richard S.      Send and review emails regarding American Veteran           0.30    97.50
                                   and review and evaluate attachments to same

12/28/2023 Siegel, Richard S.      Draft American Veteran complaint and research and           1.40   455.00
                                   review documents for purpose of same
12/29/2023 Swyers, Jeffrey S.      Review draft complaint, conferences regarding same,         1.20   432.00
                                   send and receives emails regarding the same and
                                   authorization
12/29/2023 Siegel, Richard S.      Draft and revise American Veteran complaint and             0.70   227.50
                                   related filings and research and review rules and filing
                                   procedures regarding same
12/29/2023 Siegel, Richard S.      Draft, send, and review emails regarding American           0.40   130.00
                                   Veteran complaint and revocation of settlement offer
                                   and review documents and correspondence for
                                   purpose of same
12/29/2023 Siegel, Richard S.      Telephone conferences regarding American Veteran            0.50   162.50
                                   complaint and revocation of settlement offer

12/30/2023 Swyers, Jeffrey S.      Review and send email regarding the filing of lawsuit,      0.60   216.00
                                   conferences regarding same, review response from
                                   Employer
12/30/2023 Siegel, Richard S.      Telephone conferences regarding American Veteran            0.10    32.50
                                   complaint
12/30/2023 Siegel, Richard S.      Review, revise, finalize and file American Veteran          0.20    65.00
                                   complaint
12/30/2023 Siegel, Richard S.      Send, review, and revise emails regarding American          0.20    65.00
                                   Veteran complaint and reaction to same and potential
                                   settlement
01/02/2024 Dietrich, Andrew R.     Conferences and teleconferences regarding AVHA              1.00   360.00
                                   delinquency, complaint, and payroll audit, draft emails
                                   regarding same
01/02/2024 Swyers, Jeffrey S.      Send and receive emails regarding filing and audit          0.10    36.00
01/02/2024 Siegel, Richard S.      Conferences regarding case status and strategy and          0.30    97.50
                                   potential settlement
01/02/2024 Siegel, Richard S.      Telephone conference regarding case status                  0.10    32.50
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For the Period Decembr 27, 2023 through May 28, 2024

                                                     FEES
    Date   Attorney/Paralegal      Narrative                                                 Hours    Fees
01/02/2024 Siegel, Richard S.      Research and review rules of assigned judges               0.10    32.50
01/02/2024 Iyer, Shreya M.         Review and upload complaint, civil cover sheet, and        0.10    21.00
                                   magistrate consent form
01/03/2024 Siegel, Richard S.      Send and review emails regarding case administration       0.10    32.50
                                   and letters to departments
01/04/2024 Siegel, Richard S.      Send and review emails regarding letters to                0.10    32.50
                                   Secretaries of Labor and Treasury and case
                                   administration
01/04/2024 Iyer, Shreya M.         Prepare transmittal letters to Secretaries of Labor and    0.40    84.00
                                   Treasury
01/05/2024 Dietrich, Andrew R.     Teleconference with AVHA regarding litigation and          0.60   216.00
                                   potential settlement, draft emails regarding same,
                                   teleconference with payroll auditor regarding same
01/05/2024 Siegel, Richard S.      Telephone conferences regarding settlement and             0.30    97.50
                                   waiver of service, prepare for same
01/05/2024 Siegel, Richard S.      Send and review emails regarding waiver of service         0.30    97.50
                                   and audit, prepare waiver forms for purpose of same

01/09/2024 Dietrich, Andrew R.     Conference regarding service and requested waiver          0.10    36.00
                                   of service
01/09/2024 Siegel, Richard S.      Conference regarding service and case strategy             0.10    32.50
01/12/2024 Dietrich, Andrew R.     Conference regarding email to Air Right regarding          0.10    36.00
                                   waiver of service and documents needed for payroll
                                   audit
01/12/2024 Siegel, Richard S.      Draft, send, and review emails regarding waiver of         0.20    65.00
                                   service and audit, review prior correspondence for
                                   purpose of same
01/12/2024 Siegel, Richard S.      Telephone conference regarding waiver of service           0.10    32.50
                                   and audit
01/15/2024 Siegel, Richard S.      Send and review emails regarding waiver of service         0.10    32.50

01/16/2024 Siegel, Richard S.      Send and review emails regarding waiver of service         0.10    32.50

01/26/2024 Siegel, Richard S.      Telephone conference regarding returned payment            0.10    32.50

02/21/2024 Siegel, Richard S.      Draft and review emails regarding case status and          0.10    32.50
                                   review documents and prior correspondence for
                                   purpose of same
02/22/2024 Siegel, Richard S.      Draft email regarding settlement                           0.10    32.50
02/23/2024 Dietrich, Andrew R.     Review payroll audit report, draft emails and              0.70   252.00
                                   teleconference with auditor regarding same;
                                   conference regarding communication from potential
                                   purchaser of American Veteran assets and liabilities

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                                                     FEES
    Date   Attorney/Paralegal      Narrative                                                Hours    Fees
02/23/2024 Siegel, Richard S.      Telephone conferences regarding damages, audit,           0.10    32.50
                                   and potential settlement
02/23/2024   Siegel, Richard S.    Draft messages regarding potential settlement             0.10    32.50
02/26/2024   Siegel, Richard S.    Draft and review emails regarding settlement              0.10    32.50
02/29/2024   Dietrich, Andrew R.   Conference regarding proposed settlement                  0.20    72.00
02/29/2024   Siegel, Richard S.    Conference regarding default and potential settlement     0.10    32.50

03/04/2024 Siegel, Richard S.      Telephone conferences regarding damages                   0.10    32.50
                                   calculations
03/04/2024 Siegel, Richard S.      Send and review emails regarding settlement and           0.40   130.00
                                   damages and calculate damages for purposes of
                                   same, review related documents and correspondence
                                   for purpose of same
03/05/2024 Siegel, Richard S.      Draft and review emails regarding settlement and          0.20    65.00
                                   request for extension, review related documents and
                                   correspondence for purpose of same
03/06/2024 Dietrich, Andrew R.     Teleconference regarding proposed settlement of           0.20    72.00
                                   delinquent contributions, review draft email to Smith
                                   Plumbing and Heating regarding same, conference
                                   regarding same
03/06/2024 Siegel, Richard S.      Telephone conferences regarding settlement                0.30    97.50
03/06/2024 Siegel, Richard S.      Draft, revise, and review emails regarding settlement     0.10    32.50
                                   and motion for extension, review attachment to same

03/07/2024 Siegel, Richard S.      Review email regarding settlement                         0.10    32.50
03/18/2024 Siegel, Richard S.      Review scheduling order and related rules and forms,      0.20    65.00
                                   send and review emails regarding deadlines resulting
                                   from same
03/19/2024 Dietrich, Andrew R.     Review email from Fund Office regarding payroll audit     0.10    36.00
                                   delinquency, draft email regarding same, conference
                                   regarding same
03/19/2024 Siegel, Richard S.      Conference regarding case and audit status                0.10    32.50
03/19/2024 Siegel, Richard S.      Draft and review emails regarding audit status, review    0.30    97.50
                                   attachments to same and related documents and
                                   correspondence for purpose of same

03/20/2024 Siegel, Richard S.      Draft and review emails regarding case status and         0.20    65.00
                                   settlement, review related documents and
                                   correspondence for purpose of same
03/22/2024 Dietrich, Andrew R.     Conference regarding proposed settlement, review          0.20    72.00
                                   draft email regarding same
03/22/2024 Siegel, Richard S.      Telephone conferences regarding email to defendant        0.10    32.50
                                   and collective bargaining agreement issues

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                                                     FEES
    Date   Attorney/Paralegal      Narrative                                                   Hours    Fees
03/22/2024 Siegel, Richard S.      Draft, review, and revise emails regarding answer            0.20    65.00
                                   deadline, settlement, and collective bargaining
                                   agreement
03/22/2024 Siegel, Richard S.      Review and evaluate documents, pleadings and                 0.20    65.00
                                   correspondence regarding collective bargaining
                                   agreement issues
04/03/2024 Siegel, Richard S.      Review and evaluate answer                                   0.10    32.50
04/03/2024 Siegel, Richard S.      Draft and review emails regarding answer                     0.10    32.50
04/04/2024 Dietrich, Andrew R.     Conference regarding proposed motion to strike               0.10    36.00
                                   answer, review draft email to employer regarding
                                   same
04/04/2024 Siegel, Richard S.      Evaluate potential motion to strike answer and               0.60   195.00
                                   research and review rules for purpose of same
04/04/2024 Siegel, Richard S.      Conferences regarding motion to strike answer                0.10    32.50
04/04/2024 Siegel, Richard S.      Draft and review emails regarding motion to strike           0.10    32.50
                                   answer
04/05/2024 Swyers, Jeffrey S.      Review and send emails regarding answer to                   0.10    36.00
                                   complaint
04/05/2024 Siegel, Richard S.      Draft motion to strike and review documents and              0.90   292.50
                                   correspondence for purpose of same
04/15/2024 Siegel, Richard S.      Review pending deadlines                                     0.10    32.50
04/19/2024 Siegel, Richard S.      Draft and review emails regarding audit and review           0.10    32.50
                                   documents, pleadings, and correspondence for
                                   purpose of same
04/19/2024 Siegel, Richard S.      Telephone conference regarding audit                         0.10    32.50
04/23/2024 Siegel, Richard S.      Review case docket and correspondence regarding              0.10    32.50
                                   case status and deadlines
04/24/2024 Swyers, Jeffrey S.      Conference regarding answer and timing of default            0.10    36.00

04/24/2024 Siegel, Richard S.      Conference regarding answer deadline, case                   0.10    32.50
                                   deadlines, and potential default
04/25/2024 Siegel, Richard S.      Draft email regarding potential default and case             0.10    32.50
                                   status
05/01/2024 Dietrich, Andrew R.     Review draft motion to adjourn and request for entry         0.10    36.00
                                   of default
05/01/2024 Siegel, Richard S.      Draft, revise, and file requests for entry of default and    0.60   195.00
                                   motion to adjourn deadlines and related pleadings
                                   and review documents, pleadings, and rules for
                                   purpose of same
05/01/2024 Siegel, Richard S.      Draft and review emails regarding request for entry of       0.10    32.50
                                   default and motion to adjourn deadlines
05/06/2024 Siegel, Richard S.      Draft and review emails regarding order on motion for        0.10    32.50
                                   extension and audit status

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                                                  FEES
    Date   Attorney/Paralegal      Narrative                                              Hours    Fees
05/07/2024 Swyers, Jeffrey S.      Conference regarding estimates for contributions for    0.10    36.00
                                   judgment
05/07/2024 Siegel, Richard S.      Conferences regarding motion for default judgment       0.20    65.00

05/07/2024 Siegel, Richard S.      Send email regarding motion for default judgment        0.10    32.50
05/07/2024 Siegel, Richard S.      Draft motion for default judgment and review            0.50   162.50
                                   documents, pleadings, and correspondence for
                                   purpose of same
05/08/2024 Dietrich, Andrew R.     Conference regarding status and next steps for          0.30   108.00
                                   lawsuit
05/08/2024 Siegel, Richard S.      Draft motion for default judgment and supporting        0.90   292.50
                                   declaration and review documents, pleadings, and
                                   correspondence for purpose of same
05/08/2024 Siegel, Richard S.      Telephone conferences regarding motion for default      0.30    97.50
                                   judgment
05/08/2024 Siegel, Richard S.      Draft and review emails regarding motion for default    0.10    32.50
                                   judgment
05/09/2024 Siegel, Richard S.      Draft motion for default judgment and supporting        0.60   195.00
                                   declaration and review documents, pleadings, and
                                   correspondence for purpose of same
05/09/2024 Siegel, Richard S.      Draft and review emails regarding motion for default    0.30    97.50
                                   judgment and audit issues and damage calculations
                                   and review and evaluate attachments to same

05/09/2024 Siegel, Richard S.      Telephone conference regarding motion for default       0.10    32.50
                                   judgment
05/13/2024 Dietrich, Andrew R.     Conference internally regarding determination of        0.20    72.00
                                   delinquent contributions owed under payroll audit
05/13/2024 Siegel, Richard S.      Telephone conferences regarding case status and         0.10    32.50
                                   audit and prepare for same
05/13/2024 Siegel, Richard S.      Draft email regarding audit                             0.10    32.50
05/16/2024 Siegel, Richard S.      Review email regarding audit                            0.10    32.50
05/17/2024 Siegel, Richard S.      Draft and review emails regarding audit and default     0.10    32.50
                                   judgment
05/17/2024 Siegel, Richard S.      Draft and revise pleadings for motion for default       0.30    97.50
                                   judgment and compile exhibits to same
05/21/2024 Siegel, Richard S.      Review and evaluate comments and revisions to           0.10    32.50
                                   motion for default judgment
05/22/2024 Siegel, Richard S.      Revise motion for default judgment and related          0.40   130.00
                                   pleadings and research and review documents for
                                   purpose of same and review and evaluate comments
                                   and revisions to same



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                                                     FEES
    Date   Attorney/Paralegal      Narrative                                              Hours       Fees
05/21/2024 Swyers, Jeffrey S.      Review motion for default judgment and supporting       0.20       72.00
                                   affidavit, send email regarding revisions to same

05/22/2024 Siegel, Richard S.      Draft and review emails regarding motion for default    0.10       32.50
                                   judgment
05/22/2024 Siegel, Richard S.      Telephone conference regarding motion for default       0.10       32.50
                                   judgment
05/24/2024 Siegel, Richard S.      Draft and review emails regarding declaration for       0.10       32.50
                                   motion for default judgment
05/24/2024 Siegel, Richard S.      Review and revise declaration for motion for default    0.10       32.50
                                   judgment and review related documents and
                                   correspondence for purpose of same
05/28/2024 Siegel, Richard S.      Review and revise motion for default judgment and       0.10       32.50
                                   declaration in support of same
05/28/2024 Siegel, Richard S.      Telephone conference regarding motion for default       0.10       32.50
                                   judgment
05/28/2024 Siegel, Richard S.      Draft and review emails regarding motion for default    0.10       32.50
                                   judgment
                                   Total Fees                                             27.50   $9,202.00

FEES RECAP
         Attorney/Paralegal                                                       Hours    Rate        Fees
ARD      Dietrich, Andrew R.                                                       3.90     360   $1,404.00
JSS      Swyers, Jeffrey S.                                                        5.30     360   $1,908.00
RSS      Siegel, Richard S.                                                       17.80     325   $5,785.00
SMI      Iyer, Shreya M.                                                           0.50     210     $105.00
         Total                                                                    27.50           $9,202.00




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                                                     COSTS
Date         Description                                                                  Costs
01/15/2024   Colorado District Court: 12/30/23 complaint filing fee                     $202.50
04/30/2024   Pacer Service Center - January-March 2024 Billing Statement                  $0.10
04/30/2024   Legal research, Lexis-Nexis: April 2024                                     $78.47
             Total Costs                                                               $281.07


                                         FEES AND COSTS RECAP
             Total Fees                                                               $9,202.00
             Total Costs                                                                $281.07
             Total Fees and Costs                                                     $9,483.07




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